                 IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                    Civil Action No. 3:22-cv-630-MOC-DSC

 SARA BETH WILLIAMS, BRUCE               )
 KANE, JASON YEPKO, GUN                  )
 OWNERS OF AMERICA, INC.,                )
 GUN OWNERS FOUNDATION,                  )
 GRASS ROOTS NORTH                       )
 CAROLINA, and RIGHTS WATCH              )
 INTERNATIONAL,                          )
                                         )
                      Plaintiffs,        )
                                         )
 v.                                      )
                                         )
 SHERIFF GARRY MCFADDEN, in              )
 his official capacity as Sheriff of     )
 Mecklenburg County, and the             )
 MECKLENBURG COUNTY                      )
 SHERIFF’S OFFICE                        )
                                         )
                      Defendants.        )

                     DEFENDANTS’ RESPONSE TO
         PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       Despite repeatedly acknowledging that Defendants are operating within the

statutory framework for administering Concealed Handgun Permits (“CHP”s) set

forth in N.C.G.S. §§ 14-415.12, -.13, and -.15, Plaintiffs seek to enjoin Defendants

from following these statutes as written, requesting that this Court order Defendants

to ignore the plain language of these statutes and instead follow them as if written



                                         1

WBD (US) 60184825v1
the way the gun lobby wishes they were. This Court should reject Plaintiffs’

suggestion that it act as a super-legislature, and deny Plaintiffs’ motion.

I.         INTRODUCTION
           The seven Plaintiffs are three individuals: 1) Sara Beth Williams

(“Williams”); 2) Bruce Kane (“Kane”); and 3) Jason Yepko (“Yepko”) (collectively

the “Applicants”); and four organizations: 1) Gun Owners of America, Inc.

(“GOA”); 2) Gun Owners Foundation (“GOF”); 3) Grass Roots North Carolina

(“GRNC”); and 4) Rights Watch International (“RWI”) (collectively the

“Organizations”). [ECF No. 1.] The Organizations exist “to preserve and defend the

Second Amendment rights of gun owners.” [ECF No. 1-1 and 1-2.] GOA and GOF

admit that they “routinely litigate cases across the country in furtherance of their

mission, on behalf of their members and supporters in various states.” [ECF No. 1-

1.] GRNC, for instance, “is dedicated to electing legislators who will defend your

gun rights, and passing legislation for the same. In local battles, we pressure city

councils and county commissions to respect the gun rights of residents. On occasion,

we use political pressure to target elected officials who, through malfeasance, have

denied due process to individuals.”1

           Plaintiffs’ Complaint for declaratory and injunctive relief asserts various

constitutional challenges to Mecklenburg County Sheriff Garry McFadden’s and the


1
    https://www.grnc.org/resources/faqs-about-nc-gun-laws
                                                            2

WBD (US) 60184825v1
Mecklenburg County Sheriff’s Office (“MCSO”)’s CHP permitting process. [ECF

No. 1]. Sheriff McFadden, like all North Carolina sheriffs, is responsible for

administering the gun permitting process, including applications for CHPs. See

N.C.G.S. §§ 14-402- 415.27. Plaintiffs have pled the following causes of action

against both Defendants:

       Count I:       Violation of the Second Amendment [ECF No. 1, ¶¶ 96-103];

       Count II:      Violation of 42 U.S.C. § 1983, Second Amendment, id. at

¶¶ 104-109;

       Count III:     Violation of 42. U.S.C. § 1983, Fourteenth Amendment Due

       Process, id. at ¶¶ 110-116; and

       Count IV:      Violation of 42. U.S.C. § 1983, Fourteenth Amendment Equal

Protection, id. at ¶¶ 117-126.

       Plaintiffs’ motion for a preliminary injunction should be denied because 1)

Defendants are complying with N.C.G.S. §§ 14-415.12, -.13, and -.15; 2) Plaintiffs

have not shown any irreparable harm; 3) the balance of equities favors Defendants;

and 4) an injunction is not in the public interest.

II.    STATEMENT OF FACTS
       Any person with a CHP may carry a concealed handgun. N.C.G.S. § 14-

415.11. North Carolina is a “shall issue” state, meaning that Defendants do not have

discretion to deny a CHP if the CHP applicant meets certain criteria. N.C.G.S. § 14-

                                           3

WBD (US) 60184825v1
415.12. An applicant must submit an application2, a nonrefundable permit fee of

$90.00, a fee of $10.00 for fingerprinting (and submit to fingerprinting by the

Sheriff), a certificate of completion of an approved course for handgun competency,

and a release authorizing disclosure of any records concerning the “mental health or

capacity”3 of the applicant to determine whether s/he is disqualified from receiving

a permit under N.C.G.S. § 14-415.12(a)(3). N.C.G.S. § 14-415.13(a)(5).

         After the applicant completes the items in N.C.G.S § 14-415.13, the Sheriff is

authorized to “conduct any investigation necessary to determine the qualification or

competency of the person applying for the permit.” N.C.G.S. § 14-415.15(a)

(emphasis added). Within ten days of the receipt of the items listed in N.C.G.S. §

14-415.13, the “sheriff shall make the request for any records concerning the mental

health or capacity of the applicant.” N.C.G.S. § 14-415.15(a) (emphasis added).

N.C.G.S. § 14-415.15(a) further provides that “within 45 days of the receipt of the

items listed in G.S. 14-415.13 from an applicant, and receipt of the required records

concerning the mental health or capacity of the applicant, the sheriff shall either issue

or deny the permit.” N.C.G.S. § 14-415.15(a). Within ten days of receiving a

completed CHP application, Defendants send the applicant’s mental health releases

to the seven providers where Mecklenburg County residents are most likely to have


2
  This application is created by the North Carolina State Bureau of Investigation (“SBI”), and is attached as Exhibit
1A to the Declaration of Tamara Rhode.
3
  See North Carolina Administrative Office of the Courts form AOC-SP-914, which is attached as Exhibit 1B to the
Declaration of Tamara Rhode.
                                                          4

WBD (US) 60184825v1
received treatment for mental health issues, including the U.S. Department of

Veteran’s Affairs (the “VA”) which operates multiple facilities in North Carolina

for the treatment of military veterans. (Rhode Dec. ¶¶ 7-8).4 Once Defendants

request an applicant’s mental health records, control of the process shifts to the

mental health providers while Defendants await production of the records. (Rhode

Dec. ¶ 10). The Sheriff cannot control how long it may take any given mental health

provider to return the requested records, but so long as the Sheriff issues or denies

the CHP within forty-five days of receiving those records, the Sheriff is in

compliance with the law.

        Plaintiffs allege that the Mental Health Provisions (“MHP”) are

unconstitutional [ECF No. 1, p. 2]5 and Defendants’ request for mental health

records pursuant to N.C.G.S. §§ 14-415.12 causes an unnecessary and long delay for

CHP applicants which constitutes an infringement on Plaintiffs’ Second Amendment

rights. [ECF No. 1.] However, in their argument, Plaintiffs ignore several important

points: 1) Defendants are not the proper parties against whom to bring a

constitutional challenge; 2) N.C.G.S. § 14-415.12 demands a finding by Sheriff

McFadden, and all North Carolina Sheriffs, that an “applicant does not suffer from

a physical or mental infirmity that prevents the safe handling of a handgun”; and 3)



4
         “Rhode Dec.” refers to the Declaration of Tamara Rhode, attached as Exhibit 1 to this Response.
5
         Plaintiffs define MHP as “certain portions of N.C.G.S. § 14-415.13 through N.C.G.S. § 14-415.15,” but do
not specify which portions are unconstitutional. [ECF No. 1, p. 2].
                                                        5

WBD (US) 60184825v1
the Sheriff is authorized to “conduct any investigation necessary to determine the

qualification or competency of the person applying for the permit.” N.C.G.S. § 14-

415.15(a). Plaintiffs’ motion for emergency relief should therefore be denied.

III.   ARGUMENT
       Plaintiffs seeking a preliminary injunction must establish a) that they are

likely to succeed on the merits, b) that they are likely to suffer irreparable harm in

the absence of preliminary relief, c) that the balance of equities tips in their favor,

and d) that an injunction is in the public interest.” Winter v. Nat. Res. Def. Council,

Inc., 555 U.S. 7, 20, 129 S. Ct. 365, 374 (2008). The purpose of a preliminary

injunction is to protect the status quo and to prevent irreparable harm during the

pendency of a lawsuit ultimately to preserve the court's ability to render a meaningful

judgment on the merits. Stinnie v. Holcomb, 37 F.4th 977, 983 (4th Cir. 2022)

(cleaned up).

       A.      PLAINTIFFS WILL NOT SUCCEED ON THE MERITS

       In order to prevail on the merits, Plaintiffs must show that Defendants 1)

deprived them of a right secured by the Constitution and laws of the United States;

and 2) that the deprivation was under the color of state law. Phillips v. Pitt County

Memorial Hospital, 572 F.3d, 176, 180 (4th Cir. 2009). For purposes of this motion,

Defendants acknowledge that they were acting under color of law in complying with

N.C.G.S. §§ 14-14-414.12 et seq. The only remaining issue is whether Plaintiffs can

                                          6

WBD (US) 60184825v1
show that Defendants’ compliance with these statutes violated their Constitutional

rights. It is clear that they cannot.

           1.         PLAINTIFFS DO NOT ALLEGE ANY STATUTORY
                      VIOLATIONS

       Plaintiffs make various claims about the constitutionality of the MHP, but

they fail to allege that Defendants are violating any statutes. They do not allege that

Defendants have 1) violated the ten-day deadline for submitting requests for mental

health records; or 2) violated the forty-five-day deadline related to issuance of a

permits after all mental health records are received. Instead, they argue 1) that the

time-frames set forth in the statutes should be interpreted differently than written; 2)

that the information in the mental health records is duplicative of other information

that Defendants are authorized to review by other means; and 3) that Defendants

cannot legally request VA records when the applicant asserts that s/he has never

served in the military. None of these arguments have any merit.

       Plaintiffs have misinterpreted N.C.G.S. § 14-415(a) which clearly states that

“within 45 days after receipt of the items listed in GS 14-415.13 from an applicant,

and receipt of the required records concerning the mental health or capacity of the

applicant, the sheriff shall either issue or deny the permit.” (emphasis added). In

fact, the most striking flaw in Plaintiffs’ logic is the contention that once an applicant

completes the CHP application, that applicant should have a decision on his or her

permit within forty-five days. Plaintiffs seek to rewrite the law completely by asking
                                            7

WBD (US) 60184825v1
that Defendants be enjoined “from withholding handgun permits for qualified

applicants to be issued under N.C.G. Stat. §§ 14-415, 15(a) for more than 45 days

after an application has been submitted.” [ECF 9, pp. 1-2]. To suggest that

Defendants must issue or deny a CHP within forty-five days of receiving an

application misstates the law.                  The forty-five-day period starts to run upon

completion of a CHP application and “receipt of the required records concerning the

mental health or capacity of the applicant.” N.C.G.S. § 14-415.15(a).

        Plaintiffs use such terms as “abus[ive],” “devious,” “Byzantine,”

“unbridled,” and suggest a “fishing expedition” to describe Defendants’ efforts that

allegedly create unreasonable delays. But those terms – indeed those arguments –

are only potentially germane to an inquiry regarding the constitutionality of the

statute itself. If Plaintiffs wish to challenge N.C.G.S. § 14-415.15(a), the proper

respondent to such a challenge would be the North Carolina Attorney General.6

Plaintiffs misdirect their protestations to the “North Carolina Mental Health

Provisions” set forth in the N.C.G.S. § 14-415.15(a) by suing the Defendants.

Notwithstanding Plaintiffs’ obvious frustrations with Sheriff McFadden’s lawful

(indeed obligatory) exercise of discretion in seeking mental health records from the

providers he deems appropriate, Plaintiffs concede that Sheriff McFadden is



6
          Attorney General Josh Stein was named as a defendant in the Complaint [ECF No. 1, ¶¶ 15, 109], but
Plaintiffs filed a “Joint Stipulation to remove Attorney General Josh Stein as a named Defendant” on January 6,
2023. [ECF 13].
                                                         8

WBD (US) 60184825v1
operating in compliance with N.C.G.S. § 14-415.15(a). Plaintiffs have not alleged

that Defendants have violated the CHP statute. Plaintiffs complain that the mental

health background checks Defendants perform on Mecklenburg County citizens

who wish to conceal their firearms in public places are “prophylaxis on

prophylaxis.” [ECF No. 10, p. 10] In essence, Plaintiffs contend that there is no

point to requesting mental health records beyond what is provided by the Federal

Bureau of Investigations National Instant Criminal Background Check System

(“NICS”). But again, Plaintiffs’ argument is based upon a misreading of the

relevant statutes.

       Defendants utilize the NICS system to review an applicant’s criminal history.

(Rhode Dec. ¶¶ 4-5). However, as Plaintiffs recognize, as far as mental health issues

are concerned, NICS only provides information regarding mental health

adjudications. [ECF No. 10, p. 11]; (Rhode Dec. ¶ 5). Defendants’ NICS inquiry is

partially relevant to the mandate in N.C.G.S. § 14-415.12 (b) (6) which states that a

Sheriff shall deny a permit to someone who “is currently, or has been previously

adjudicated by a court or administratively determined by a government agency

whose decisions are subject to judicial review to be, lacking mental capacity or

mentally ill.” However, Plaintiffs ignore that North Carolina Sheriffs are also

required to determine that an “applicant does not suffer from a physical or mental

infirmity that prevents the safe handling of a handgun.” N.C.G.S. § 14-415.12(a)(3).

                                         9

WBD (US) 60184825v1
An applicant never adjudicated mentally ill might still have visited a mental health

facility for any number of reasons, and information from such a visit or visits may

lead a Sheriff to conclude that the applicant suffers “from a physical or mental

infirmity that prevents the safe handling of a handgun.” See e.g., Cale v. Atkinson,

268 N.C. App. 466 at *4, 834 S.E.2d. 454 (table) (2019) (upholding Sheriff’s denial

of permit based upon applicant suffering from “physical or mental infirmity” based

upon mental health records from twenty years earlier). The reason Defendants seek

information from Mecklenburg County CHP applicants’ most commonly accessed

mental health providers is not because Defendants are “anti-gun” as Plaintiffs

suggest; it is because Defendants are complying with the mandate set by the North

Carolina General Assembly:       that individuals authorized to carry a concealed

handgun do not suffer from a “physical or mental infirmity” that prevents the safe

handling of that handgun.

       Plaintiffs contend there is no point in requesting records from the VA for

individuals who claim they never served in the military. While Defendants inquire

of all CHP applicants whether they have served in the military, an important reason

justifies Defendants’ request for VA records notwithstanding a negative reply

about military service. Some applicants inaccurately or mistakenly (if not

untruthfully) answer the question about military service. (Rhode Dec. ¶ 9). For

example, a recent applicant indicated that he had never served in the military, but

                                         10

WBD (US) 60184825v1
VA records showed that not only had the applicant served (and thereby qualified

for treatment at the VA), he had also attempted suicide on multiple occasions and

threatened physically to harm VA employees at a VA facility. Id.

       Other applicants may answer this question truthfully and still, perhaps

unintentionally, provide a misleading answer. The applicant only has to answer

under oath whether they “[h]ave…been discharged from the U.S. Armed Forces

under conditions other than honorable.” (Rhode Dec. ¶ 2, Exhibit 1A). An

applicant who served in the military but was honorably discharged would answer

this question “no.” The same applicant, however, may well have received

treatment from the VA.

       N.C.G.S. § 14-415.15(a) states that “the sheriff may conduct any

investigation necessary to determine the qualification or competency of the person

applying for the permit, including record checks.” Given the reality – that CHP

applicants may incorrectly (intentionally or otherwise) indicate never having

served in the military, or that they may not have “been discharged…under

conditions other than honorable” – Defendants’ request for VA mental health

records for all CHP applicants is certainly reasonable.

           2.         BRUEN IS DISTINGUISHABLE
       Suggesting that Defendants’ request for mental health records creates an

unconstitutional delay, Plaintiffs repeatedly reference the last sentence in a footnote

                                          11

WBD (US) 60184825v1
in the recent Supreme Court decision that struck down New York State’s “proper

cause” statute for concealed carry permits. New York State Rifle & Pistol Ass'n, Inc.

v. Bruen, 142 S. Ct. 2111 (2022). In the first sentence of the footnote, the Supreme

Court made it clear that “nothing in our analysis should be interpreted to suggest the

unconstitutionality of the 43 States’ “shall- issue” licensing schemes….” Id. at 2138

n. 9. The final sentence of that footnote upon which Plaintiffs contend controls this

case suggests that “ … because any permitting scheme can be put toward abusive

ends, we do not rule out constitutional challenges to shall-issue regimes where, for

example, lengthy wait times in processing license applications or exorbitant fees

deny ordinary citizens their right to public carry.” Id But Plaintiffs ignore the

distinction between “public carry,” “open carry,” and “concealed carry.”         Public

carry refers to the notion of possessing a handgun in a public place. Public carry is

simply an umbrella term under which open carry and concealed carry both fall. The

last sentence in footnote 9 in Bruen only cautions against extreme delays and

exorbitant fees that could, in effect, place an unconstitutional burden on public carry.

But according to Bruen, as no permit is required for open carry in North Carolina,

Plaintiffs Second Amendment right to public carry is not infringed by N.C. G.S. §

14-415.15(a).

       CHP applicants’ Second Amendment rights are not infringed upon by

Defendants’ lawful enforcement of N.C.G.S. § 14-415.15(a). Defendants do not

                                          12

WBD (US) 60184825v1
endeavor to ban concealed carry. Moreover, Plaintiffs do not raise a “may issue” or

“proper cause” question as was considered in Bruen. Sheriff McFadden has ten days

to request mental health records upon completion on an application, and forty-five

days to make a decision once those records are returned. CHP applicants denied a

permit may challenge the reasonableness of the Sheriff’s decision by appeal to the

state District Court. Sheriff McFadden’s only discretion in the CHP process concerns

what mental records to request, in order to determine whether the applicant suffers

from a physical or mental infirmity which prevents him or her from safely handling

a handgun. N.C.G.S. § 14-415.12(a)(3). Bruen does not stand for the proposition

that any delay in obtaining a CHP is unconstitutional; certainly not a “delay” caused

by the time it may take a mental health provider to produce its records, a delay which

is completely out of the Sheriff’s control.

       Since Bruen, one district court in New York held that Bruen’s “lengthy wait

times” dicta in footnote 9 might apply in a situation where an applicant cannot obtain

an available appointment in order to submit an application for over a year. See

Antonyuk v. Hochul, -- F. Supp.3d --, 2022 WL 16744700 at * 11 (N.D.N.Y. 2022)

(noting that failure to process a gun permit application due to lack of available

appointments for more than a year may violate applicant’s Second Amendment

rights.) The individual Plaintiffs in this case have all had their CHP applications

approved. (Rhode Dec. ¶¶ 14-16). Any delay they had in receiving their CHPs does

                                          13

WBD (US) 60184825v1
not implicate footnote 9 in Bruen. As Justice Kavanaugh stated in his concurrence

in Bruen: “shall-issue regimes” that “do not grant open-ended discretion to licensing

officials and do not require a showing of some special need apart from self-defense”

are “constitutionally permissible,” even if they require an individual to “undergo

fingerprinting, a background check, a mental health records check, and training in

firearms handling and in laws regarding the use of force, among other possible

requirements.” 142 S.Ct. at 2162 (Kavanaugh, J., concurring).

           3.         DEFENDANTS HAVE IMMUNITY FOR ANY CIVIL
                      LIABILITY AS A RESULT OF THEIR PERFORMANCE OF
                      CHP PROCESSING DUTIES

   The North Carolina General Assembly has declared that “[a] sheriff who issues

or refuses to issue a permit to carry a concealed handgun under this Article shall not

incur any civil or criminal liability as the result of the performance of the sheriff’s

duties under this Article.” N.C.G.S. § 14-415.20. The plain language of this statute

is a prohibition on Plaintiffs’ ability to bring a civil proceeding against Defendants

for allegations that they are unlawfully delaying the issuance of permits. This

immunity is in addition to a sheriff’s sovereign immunity for discretionary acts in

general. N.C.G.S. § 14-415.20 is a clear expression of the legislative intent to free

a sheriff from litigation such as this, as well as claims that might arise from the

sheriff’s administration of the concealed carry permit laws.



                                          14

WBD (US) 60184825v1
       B.      PLAINTIFFS WILL NOT SUFFER IRREPARABLE HARM

       Plaintiffs maintain that without a judicial fiat granting them the right to carry

concealed handguns in North Carolina, they will suffer irreparable harm. However,

a North Carolina citizen may legally purchase a handgun by obtaining a Pistol

Purchase Permit (“PPP”) through a process which is also administered by all North

Carolina Sheriffs and prescribed by separate statute (N.C.G.S. § 14-404). Sheriffs

are not required to conduct the same mental health background checks for a PPP as

they are for a CHP, as a PPP allows only for the purchase of a handgun, and does

not authorize a permit holder to carry a concealed weapon in a public area. Id.

Accordingly, in issuing a PPP, Sheriffs do not affirm that the “applicant does not

suffer from a physical or mental infirmity that prevents the safe handling of a

handgun,” as is required for a CHP pursuant to N.C.G.S. § 14-415.12(a)(3). “North

Carolina citizens who lawfully obtain a handgun via a PPP can still “open carry” it

in public, as North Carolina does not require any permit for open carry. State v.

Mathis, 274 N.C. App. 250, 849 S.E.2d 369, 369 (2020).

       Applicants’ “irreparable harm” argument is also undermined because

Williams and Yepko’s CHP applications have been approved, and their permits were

received from the SBI on December 5, 2022. (Rhode Dec. ¶¶ 14, 16). Kane’s CHP

application was approved on January 6, 2023, and MCSO will notify him when the

SBI prints his permit. Id. at ¶ 15.

                                           15

WBD (US) 60184825v1
       In addition, N.C.G.S. § 14-415.15(b) offers an expedited path to a temporary

CHP for citizens who have a demonstrable safety concern constituting an

“emergency situation.” This provision allows the Sheriff to issue a temporary CHP

prior to obtaining the applicant’s mental health records. Applicants claim they need

emergency relief, but there is no evidence that any of the Applicants even attempted

to utilize the emergency relief offered in N.C.G.S. § 14-415.15(b). So the argument

that “no legal remedies will suffice to compensate those able to self-defense if killed

or injured for the inability to lawfully possess defensive arms” [ECF No. 10 at 20]

is as erroneous as it is hysterical and inflammatory. Applicants can obtain firearms

to defend themselves, and can carry them in public without a CHP.

       To suggest that they face irreparable harm without an injunction, Plaintiffs

allege that any individual who possesses a handgun and a CHP will survive a public

altercation, but without one they will not. This speculative argument is obviously

flawed. There is, of course, no guarantee that citizens with a handgun and a CHP

will be able to defend themselves when put in a high-stress, life-threating situation

that justifies the use of deadly force. Plaintiffs posit that all citizens who apply for

a CHP possess the natural ability to shoot an assailant and avoid injuring (or worse)

innocent bystanders. Putting aside the sheer fantasy of the scenario, what role does

concealment play in it? North Carolina citizens can openly carry firearms without a

CHP.

                                          16

WBD (US) 60184825v1
       As such, Plaintiffs cannot show that the lawful delay in the issuance of a CHP

will cause them irreparable harm.

       C.      THE BALANCE OF EQUITIES FAVORS DEFENDANTS
       Plaintiffs recycle the same “life and death” argument when discussing the

balance of equities. But their argument is even less compelling in this context. The

competing interests are the time it takes for qualified applicants to obtain a CHP –

applicants who can already carry a weapon openly because there is no permit

required for open carry – versus Defendants’ obligation to comply with the directive

of the General Assembly to insure that individuals seeking a CHP do not suffer from

physical or mental infirmities that prevent the safe handling of a handgun.

       First, Plaintiffs are seeking to change the status quo, which in and of itself

means that the balance of equities is not in their favor. Second, the notion that the

desire of an individual who may suffer from mental illness to conceal a handgun in

public is somehow more vital than first ensuring the ability of that individual safely

to handle that handgun, offends all notions of logic and reason. The balance of

equities clearly favors Defendants.

       D.      PUBLIC INTEREST FAVORS DENIAL OF THE INJUNCTION

       While the balance of equities favors denial of a preliminary injunction, public

interest demands it. Plaintiffs concede that this litigation is part of a larger agenda

to eliminate restrictions on gun ownership in the United States. They frequently find

                                          17

WBD (US) 60184825v1
opportunities in their memorandum to editorialize on issues not before the Court:

“[f]or the sake of clarity, and although not at issue in this case, Plaintiffs do not

concede that even a greatly shortened ‘wait time’ to obtain a permit would be

constitutional.” [ECF No. 10 at 19, Footnote 6] (emphasis in original). But the

proper avenue to pursue this agenda is must do so through the legislative process,

not the judicial system the public is entitled to protection from handguns being

concealed by individuals who have mental or physical infirmities that would prohibit

the safe handling of such dangerous weapons. Handguns concealed by citizens who

cannot safely handle them creates a clear and present danger to the community.

Furthermore, Plaintiffs do not allege that Defendants have missed the ten-day or

forty-five-day deadlines, and the public interest as evidenced by the obvious intent

of the CHP statute requires Defendants continue to carry out the directives of that

statute unless and until the statute is amended or struck down as unconstitutional.

IV.    CONCLUSION
       Plaintiffs are pushing an activist agenda to strike down North Carolina’s

CHP statutes as unconstitutional. Defendants, however, have no place in the

middle of such a constitutional challenge and no legal standing to defend it.

Defendants have properly exercised their authority as required by statute. Plaintiffs

can show neither likelihood of success on the merits, irreparable harm, the balance

of equities in their favor, nor that granting their requested injunction is in the

                                           18

WBD (US) 60184825v1
public interest. For the foregoing reasons Plaintiffs Motion for Preliminary

Injunction should be denied.

       Respectfully submitted this 10th day of January, 2023.

                                       /s/Sean F. Perrin
                                       Sean F. Perrin
                                       N.C. State Bar No. 22253
                                       Alexander J. Buckley
                                       N.C. State Bar No. 53403
                                       WOMBLE BOND DICKINSON (US) LLP
                                       301 South College Street, Suite 3500
                                       Charlotte, North Carolina 28202-6037
                                       Telephone: 704-331-4992
                                       Facsimile: 704-338-7814
                                       Sean.Perrin@wbd-us.com
                                       Alex.Buckley@wbd-us.com


                                       /s/J. George Guise
                                       J. George Guise
                                       N.C. State Bar No. 22090
                                       Mecklenburg County Sheriff’s Office
                                       801 East Fourth St.
                                       Charlotte, North Carolina 28202

                                       Attorneys for Defendants Sheriff Garry
                                       McFadden and Mecklenburg County
                                       Sheriff’s Office




                                         19

WBD (US) 60184825v1
